                                                                Case 2:21-cv-00691-DLR Document 59 Filed 01/31/22 Page 1 of 3



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                                                                               IN THE UNITED STATES DISTRICT COURT
                         A T T O RN E Y S A T L A W




                                                      14                           FOR THE DISTRICT OF ARIZONA

                                                      15   Erik Johnson, an individual,                       Case No. 2:21-cv-00691-DLR
                                                      16                     Plaintiff,                       PROCTORIO INC.’S NOTICE OF
                                                           v.                                                 SERVICE OF DISCOVERY
                                                      17
                                                           Proctorio, Inc., a Delaware corporation,
                                                      18
                                                                         Defendant.
                                                      19   ____________________________________
                                                      20   Proctorio, Inc., a Delaware corporation,
                                                      21                     Counterclaimant,
                                                           v.
                                                      22
                                                           Erik Johnson, an individual,
                                                      23
                                                                             Counterdefendant.
                                                      24
                                                      25           Pursuant to LRCiv. 5.2, Defendant Proctorio, Inc. (“Proctorio”), by and through its
                                                      26   undersigned counsel, hereby gives notice that on January 31, 2022, Proctorio served on
                                                      27   Plaintiff Erik Johnson its First Set of Interrogatories.
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                                                           Dated: January 31, 2022             CROWELL & MORING LLP
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                                                       3
                                                                                               By: /s/ Jacob Canter
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                                                       1                                 CERTIFICATE OF SERVICE
                                                       2          I hereby certify that on January 31, 2022, I caused the foregoing to be
                                                       3   electronically filed with the Clerk of the Court using the Court E-Filing system, which
                                                       4   sends notification of such filings to all registered participants.
                                                       5
                                                       6                                               By:    /s/ Jacob Canter
                                                                                                              Jacob Canter
                                                       7
                                                                                                              Attorney for Defendant Proctorio, Inc.
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C RO W EL L & M O R IN G LLP




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